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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


 FRIENDS OF CEDAR MESA,                               MOTION TO DISMISS

        Plaintiff,                                    Case No. 4:19-cv-00013-DN-PK
                                                      Case No. 2:19-cv-00266-DN
 v.
                                                      District Judge David Nuffer
 U.S. DEPT. OF THE INTERIOR et al.,
                                                      Magistrate Judge Paul Kohler
        Defendants.


 SOUTHERN UTAH WILDERNESS
 ALLIANCE,

        Plaintiff,

 v.

 DAVID BERNHARDT et al.,

        Defendants.


       The Federal Defendants move to dismiss this action because this Court lacks subject

matter jurisdiction. Therefore, as discussed further below, this Court should dismiss this action

without prejudice.
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                                            BACKGROUND

         Under 30 U.S.C. § 226, the Bureau of Land Management conducted oil and gas lease

sales in March and December 2018.1 An “oil and gas lease, by itself, does not cause a change in

the physical environment . . . [because] the lessee must submit site-specific proposals . . . [where]

[e]ach action is subject to continuing NEPA review” before being able to disturb the surface of

the land within the area of the oil and gas lease.2 Although SUWA alleges that development of

these leases will add many new structures and other damage to the environment, all of those

activities are not authorized by the lease itself but may occur, if at all, only after the lessee

receives additional approval from BLM following further environmental review. Therefore, the

lease itself does not authorize surface disturbing activity.

         As shown in Exhibit A, Friends of Cedar Mesa (“Friends”) and Southern Utah

Wilderness Alliance (“SUWA”) each filed protests with BLM regarding the oil and gas leases

sold at each above-referenced lease sale.3 BLM issued the oil and gas leases over Plaintiffs’

respective protests.4 Thereafter, Plaintiffs each filed a lawsuit challenging the issuance of the oil

and gas leases shown in Exhibit A. Friends challenged the March 2018 leases but not the

December 2018 leases shown in Exhibit A. Conversely, SUWA challenged only a few of the

March 2018 leases and all of December 2018 leases shown in Exhibit A.




1
    ECF No. 26 ¶ ¶ 57-74; ECF No. 32 ¶ 97.
2
 Park Cnty. Res. Council, Inc. v. U.S. Dep’t of Agric., 817 F.2d 609, 622 (10th Cir. 1987)
overruled on other grounds by Marsh v. Ore. Nat. Res. Council, 490 U.S. 360, 385 (1989).
3
    ECF No. 26 ¶ ¶ 65, 71; ECF No. 32 ¶ 92.
4
    ECF No. 26 Attachment 1; ECF No. 32 ¶ 100.
                                                   2
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          Plaintiffs’ respective lawsuits sought judicial review of the above-mentioned leasing

decisions pursuant to the Administrative Procedure Act (“APA”).5 Specifically, Friends’ lawsuit

complained that BLM’s leasing decisions were arbitrary and capricious under the APA because

BLM failed to comply with its obligations under the National Environmental Policy Act

(“NEPA”),6 the National Historic Preservation Act (“NHPA”),7 and the Endangered Species Act

(“ESA”).8 SUWA’s lawsuit complained that BLM’s leasing decision was arbitrary and

capricious because it failed to comply with NEPA and the Federal Land Policy and Management

Act (“FLPMA”).9

          In addition to Plaintiffs’ actions in this Court, another conservation group, WildEarth

Guardians, challenged the March 2018 leases in Exhibit A before the Interior Board of Land

Appeals (“IBLA”).10 The IBLA is part of the Office of Hearings and Appeals and determines,

“as fully and finally as might the Secretary [of the Interior],”11 “decisions rendered by

Departmental officials relating to . . . the use and disposition of public lands and their resources .

. . .”12 The IBLA exercises de novo review over oil and gas leasing decisions.13 Thus, “[a]




5
    5 U.S.C. § § 551 to 706; ECF No. 26 ¶ 13; ECF No. 32 ¶ 10.
6
    42 U.S.C. § § 4321 to 4333.
7
    54 U.S.C. § § 300101 to 306131.
8
    16 U.S.C. § § 1531 to 1541; ECF No. 32 ¶ ¶ 147-69.
9
    43 U.S.C. § § 1701 to 1784; ECF No. 26 ¶ ¶ 75-93.
10
     WildEarth Guardians v. Bureau of Land Mgmt., IBLA 2018-158, attached hereto as Exhibit B.
11
     43 C.F.R. § 4.1
12
     43 C.F.R.§ 4.1(b)(3).
13
     See, e.g., Wyoming Outdoor Council, 160 IBLA 387, 388 (2004).
                                                   3
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decision of the [IBLA] shall constitute final agency action . . . .”14 Upon appeal of a BLM

decision to the IBLA, BLM cannot alter its decision on the matter unless the IBLA returns

jurisdiction to BLM.15

          On March 19, 2019, the United States District Court for the District of Columbia decided

WildEarth Guardians v. Zinke,16 wherein it ruled that BLM had failed to quantify greenhouse gas

emissions that were the reasonably foreseeable effect of oil and gas development on public land

in Wyoming.17 After having time to analyze the Zinke court’s decision and to compare its

reasoning with the environmental analyses supporting the March and December 2018 oil and gas

lease sales in this action, BLM determined that it needed to suspend the December 2018 leases

and request a return of jurisdiction from the IBLA to suspend the March 2018 leases.18

          BLM moved the IBLA for a return of jurisdiction so that BLM can suspend the March

2018 leases.19 WildEarth Guardians has opposed BLM’s motion.20 The IBLA has yet to rule.




14
     43 C.F.R. § 4.403.
15
 See, e.g., McMurray Oil Co., 153 IBLA 391, 393 (2000) (holding that BLM could not alter the
BLM’s decision approving an oil and gas project while decision was before the IBLA).
16
     368 F.Supp. 3d 41 (D.D.C. 2019).
17
     Id. at 67-71.
18
   Exhibit C. Each lease was suspended by a decision that used the same wording as the example
attached hereto. Therefore, only one suspension decision is attached to avoid unnecessary
duplication.
19
     Exhibit B.
20
     Exhibit B.
                                                  4
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          In addition to seeking remand of the March 2018 leases from the IBLA, BLM issued

suspension decisions for the December 2018 leases.21 According to BLM’s suspension

decisions, BLM will conduct further NEPA analysis. Thereafter, BLM will issue a new decision

as to each lease that may: (1) cancel the lease; (2) modify it; or (3) lift the suspension without

modification.22 If the IBLA returns jurisdiction over the March 2018 leases to BLM, will

suspend the leases in the same manner as the December 2018 leases.

          Given these jurisdictional facts, the Federal Defendants move to dismiss for want of

subject matter jurisdiction for the following reasons. First, Congress limited judicial review to

only “final agency action.”23 Because the Secretary of the Interior, through the IBLA, retains the

authority to cancel or modify the March 2018 leases, they are not “final agency action.”

Consequently, Congress has not waived sovereign immunity, which requires dismissal of

Plaintiffs’ challenges to the March 2018 leases. Second, as to the suspended December 2018

leases—and the March 2018 leases once they are returned from the IBLA and suspended—this

Court lacks jurisdiction because they are moot. Consequently, there is nothing left to do but

dismiss this action and allow Plaintiffs to file a future action challenging the lifting of the

suspension on any of the leases. Thus, this action should be dismissed without prejudice.




21
     Exhibit C.
22
     Exhibit C.
23
     5 U.S.C. § 704.
                                                   5
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                                                ARGUMENT

        I.      THIS COURT LACKS SUBJECT MATTER JURISDICTION BECAUSE THE
                MARCH 2018 LEASES ARE NOT FINAL AGENCY ACTION.

             This Court lacks subject matter jurisdiction to review the March 2018 leases that

Plaintiffs have challenged because Congress has not waived the United States sovereign

immunity under the APA. As a general rule, “‘the United States, as sovereign, is immune from

suit save as it consents to be sued.’”24 The United States’ consent to be sued is “a prerequisite

for jurisdiction.”25 In order for the United States to waive this sovereign immunity, the waiver

“‘cannot be implied but must be unequivocally expressed.’”26

             The APA provides a limited waiver of sovereign immunity for judicial review of “final

agency action.”27 Establishing “final agency action” is a jurisdictional prerequisite under the

APA.28 Plaintiffs bear the burden of establishing a waiver of sovereign immunity.29

             Plaintiffs cannot carry their burden to prove final agency action because where, as here, a

group has pursued an optional appeal to the IBLA of the March 2018 leases, there is no final




24
  United States v. Mitchell, 445 U.S. 535, 538 (1980) (quoting United States v. Sherwood, 312
U.S. 584, 586 (1941)).
25
     United States v. Mitchell, 463 U.S. 206, 212 (1983).
26
     Id. (quoting United States v. King, 395 U.S. 1, 4 (1969)).
27
     5 U.S.C. § 704.
28
     Utah v. Babbitt, 137 F.3d 1193, 1203 (10th Cir. 1998).
29
     Mitchell, 463 U.S. at 212.
                                                      6
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agency action. Acura of Bellevue v. Reich nicely illustrates this principle.30 In Reich, 49 car

dealerships challenged a child-labor decision of the Department of Labor.31 The dealerships

filed an appeal with the Administrative Law Judges (“ALJs”) at the Department of Labor, which

was not a jurisdictional prerequisite to filing suit in federal court; it was a purely voluntary

appeal.32 In addition to challenging the Department of Labor’s decision before the ALJs, the

dealerships also filed an action in federal district court under the APA seeking judicial review of

the Department of Labor’s decision.33 The district court dismissed the court action because

filing an administrative action with the ALJs “rendered that decision nonfinal for purposes of

judicial review.”34

           On appeal, the Court of Appeals for the Ninth Circuit affirmed.35 The court reasoned that

the APA allows judicial review of only ‘“final agency action.”’36 Because the ALJs had de novo

review authority over the Department of Labor’s decision and, therefore could modify or reverse

the decisions, “[i]t follows that an intra-agency appeal to an ALJ, who has de novo review of the

[Department’s] decision, must similarly render the [Department’s] decision nonfinal under the




30
     90 F.3d 1403, 1407 (9th Cir. 1996).
31
     Id. at 1405.
32
     Id.
33
     Id.
34
     Id. (emphasis in original).
35
     Id.
36
     Id. at 1407 (quoting 5 U.S.C. § 704).
                                                   7
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APA.”37 Thus, optional appeals to an intra-agency appellate board with the authority to modify

or cancel the initial agency decision is not “final agency action” under the APA.

              Given the foregoing authority, Plaintiffs’ challenges to the March 2018 leases should be

dismissed because they are not final agency action. As in Reich, the March 2018 leases in this

action are currently under review by the Administrative Judges of the IBLA. The IBLA

exercises de novo review over BLM’s leasing decision38 and exercises the plenary authority of

the Secretary of the Interior to affirm, modify, or cancel the leases pending before it.39

Consequently, Plaintiffs cannot show that the March 2018 leases are “final agency action.”

Because Plaintiffs cannot meet this jurisdictional prerequisite to avail themselves of the APA’s

limited waiver of sovereign immunity, this Court should dismiss their challenges to the March

2018 leases for want of subject matter jurisdiction.

        II.      SUWA’s CHALLENGES TO THE DECEMBER 2018 LEASES ARE MOOT.40

              BLM’s lease suspension decision moots SUWA’s challenges to the December 2018

leases. “Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction is power

to declare the law, and when it ceases to exist, the only function remaining to the court is that of

announcing the fact and dismissing the cause.”41 A court cannot assert subject matter




37
     Id. at 1408.
38
     Wyoming Outdoor Council, 160 IBLA 387, 388 (2004).
39
     43 C.F.R. § 4.1.
40
  The analysis in Section II will apply to the March 2018 leases assuming that the IBLA returns
jurisdiction to BLM and BLM suspends them upon remand during the pendency of this motion.
41
     Ex Parte McCardle, 74 U.S. (7 Wall.) 506, 514 (1868).
                                                      8
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jurisdiction over a moot case.42 “A case is moot when it is impossible for the court to grant any

effectual relief whatever to a prevailing party.”43 Thus, “the core question in a mootness inquiry

is whether granting a present determination of the issues offered . . . will have some effect in the

real world.”44

           By illustration, in Southern Utah Wilderness Alliance v. United States Department of the

Interior,45 BLM re-evaluated its decision to issue oil and gas leases after Judge Kimball decided

an oil and gas leasing action against BLM in a separate case.46 Based on that action, BLM

decided to suspend the leases and to conduct additional environmental analysis before deciding

whether to cancel the leases, modify them, or to lift the suspension without modification.47 After

all of the leases were suspended, BLM moved to dismiss the action as moot, which SUWA

opposed.48 Judge Kimball rejected SUWA’s arguments and dismissed the action because

“Plaintiffs are not entitled to any relief under NEPA beyond that which BLM’s suspension

decision has already afforded. [BLM’s suspension decision] annulled any ‘irreversible and




42
     See, e.g., In re BCD Corp.,119 F.3d 852, 856 (10th Cir. 1997).
43
   In re Overland Park Fin. Corp., 236 F.3d 1246, 1254 (10th Cir. 2001) (quotations and
citations omitted).
44
  Kennecott Utah Copper Corp. v. Becker, 186 F.3d 1261, 1266 (10th Cir. 1999) (citations and
quotations omitted).
45
     2007 WL 2220525 (D. Utah 2007).
46
     Id. at *1.
47
     Id.
48
     Id. at **1-2.
                                                   9
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irretrievable commitment of resources’ from which Plaintiffs claim to have suffered harm under

NEPA.”49 Consequently, SUWA’s challenge to the suspended oil and gas leases was moot.50

          Similarly, SUWA cannot obtain any further real-world relief by litigating whether the

December 2018 leases violated NEPA or FLPMA. If SUWA were to have litigated its claims

and prevailed, the available relief is for this Court to “hold unlawful and set aside” BLM’s

decision to issue the leases.51 This is essentially what BLM has done by suspending the leases

and committing to complete further environmental review. Given that SUWA has received “all

the relief the federal court could have given [them],” the matter is moot.52

          Despite having received all the effective relief to which they would have been entitled

had they prevailed on their claims, the Federal Defendants anticipate that SUWA may argue that

this Court should nonetheless review the suspended leases under at least one of the four

exceptions to the mootness doctrine. A court will find that an action falls within one of the

exceptions to the mootness doctrine if: “(1) secondary or ‘collateral’ injuries survive after

resolution of the primary injury; (2) the issue is deemed a wrong capable of repetition yet

evading review; (3) the defendant voluntarily ceases an allegedly illegal practice but is free to




49
     Id. *2.
50
  See also S. Utah Wilderness All. v. U.S. Dep’t of the Interior, 250 F.Supp. 3d 1068, 1087 (D.
Utah 2017) (holding that BLM’s suspension of previously approved applications for permit to
drill were moot because BLM would issue a new decision after further environmental analysis
canceling the APD, modifying it, or lifting the suspension without modification).
51
     5 U.S.C. § 706(2).
52
  Wyoming v. U.S. Dep’t of the Interior, 587 F.3d 1245, 1250 (10th Cir. 2009) (citations and
quotations omitted).
                                                  10
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resume it at any time; or (4) it is a properly certified class action suit.”53 Given that this is not a

class action lawsuit, only the first three exceptions are addressed below.

             A. The Secondary or Collateral Injury Exception Does Not Apply Here.

         SUWA cannot claim to have suffered from any collateral or secondary injuries. SUWA’s

primary asserted injury was that the leases would adversely impact their members’ ability to

recreate, view wildlife, and appreciate cultural and aesthetic resources.54 To vindicate these

interests, SUWA asked this Court to rescind the leases and enjoin reissuance until BLM has

taken the appropriate environmental review.55 BLM has essentially done that. BLM suspended

the leases and committed to complete further environmental review prior to issuing a new

decision covering each lease. Therefore, this mootness exception does not apply.

             B. SUWA’s Claims are Not Capable of Repetition Yet Evading Review.

         The approvals of the leases are not capable of repetition yet evading review because

BLM has committed to issuing new decisions for each lease, and there will be ample time

following such decisions for SUWA to seek judicial review of such decisions should it choose to

do so. The “capable of repetition yet evading review” exception to the mootness rule is a

“narrow” one “that should be applied in exceptional situations.”56 To establish these exceptional

circumstances, SUWA must show that: (1) the duration of the challenged action is too short to be



53
  Riley v. Immigration & Naturalization Serv., 310 F.3d 1253, 1257 (10th Cir. 2002) (citations
omitted).
54
     ECF No. 26 ¶ 16; ECF No. 32 ¶ 16.
55
     ECF No. 26 at 26; ECF No. 32 at 40.
56
   Wyoming v. U.S. Dep’t of the Interior, 674 F.3d 1220, 1229 (10th Cir. 2012) (“Wyoming II”)
(citations and quotations omitted).
                                                   11
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fully litigated prior to its cessation or expiration; and (2) there is a reasonable expectation that

SUWA will be subjected to the same action again.57 SUWA cannot meet either requirement.

           First, as mentioned above, SUWA will have ample time to challenge the new decisions

that BLM will issue on the leases following its supplemental environmental review. The primary

term for an oil and gas lease is ten years,58 which exceeds the six-year statute of limitations for

claims under the APA.59 Six years is more than a sufficient time by which to challenge a new

decision covering each of the leases.60 Thus, on this basis alone, the capable of repetition yet

evading review exception does not apply.

           Second, SUWA cannot have a reasonable expectation of being subject to the same action

on which their present claims are based (i.e., the alleged approval of the leases without sufficient

environmental review) because BLM has suspended the leases to complete further review.

Consequently, even if, after further environmental review, BLM were to simply lift the current

suspensions without modifying the conditions of approval specified in the prior approval, the

leases would still not suffer from the same alleged procedural flaws about which SUWA now

complains. “Thus, any determination [this Court] might make as to the procedural foundations




57
     Id.
58
     30 U.S.C. § 226(e).
59
  Impact Energy Res., LLC v. Salazar, 693 F.3d 1239, 1245 (10th Cir. 2012) (stating that the
limitations period for APA claims is six years of the claim’s accrual).
60
  See, e.g., Del Monte Fresh Produce Co. v. United States, 570 F.3d 316, 322 (D.C. Cir. 2009)
(holding that agency decisions that expire in less than two years may be capable of repetition yet
evading review).
                                                  12
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of the old [decision] ‘would be wholly without effect in the real world.’”61 Therefore, SUWA

cannot establish the extraordinary circumstances necessary to invoke the capable of repetition yet

evading review exception to the mootness doctrine.

             C. The Voluntary Cessation Exception Does Not Apply Here, Especially Where an
                Agency Decision is Involved.

          Where, as here, BLM has suspended the December 2018 leases that SUWA challenges,

SUWA may argue that the voluntary cessation exception to the mootness doctrine applies.

However, this assertion would be erroneous. Where, as here, a government agency—as opposed

to a private party—has voluntarily ceased going forward with the challenged action, courts will

refuse to apply the voluntary cessation exception if: “(1) it can be said with assurance that there

is no reasonable expectation that the alleged violation will recur, and (2) interim relief or events

have completely and irrevocably eradicated the effects of the alleged violation.”62 When applied

to the voluntary cessation of government actions, these rules are much less stringent than when

applied to private parties.63 The Federal Defendants can establish both elements here.

          First, there can be no reasonable expectation that a future decision from BLM will suffer

from the same alleged flaws about which SUWA now complains. SUWA complains that the




61
     Wyoming II, 674 F.3d at 1230 (citation omitted).
62
   Rio Grande Silvery Minnow v. Bureau of Reclamation, 601 F.3d 1096, 1115 (10th Cir. 2010)
(recognizing that the voluntary cessation exception to the mootness doctrine is not applied nearly
as strictly against government agencies as against private parties and holding moot agency action
that was voluntarily terminated); S. Utah Wilderness All., 250 F.Supp. 3d at 1088 (recognizing
that burden to avoid voluntary cessation exception “often falls more lightly on government
actors”).
63
     Rio Grande, 601 F.3d at 1115.
                                                  13
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December 2018 leases were not supported by adequate environmental analysis. However, BLM

has suspended the leases and committed to completing further environmental review. Given the

NEPA review that will occur and the fact that the administrative record will change—and so may

the leasing decisions—reviewing the leases based on the current administrative record is a waste

of judicial resources until new decisions are issued. Thus, there is no reasonable basis to find

that BLM’s future decisions regarding the leases may suffer from the same alleged flaws.

       Second, BLM’s suspension of the leases has completely and irrevocably eradicated the

effects of the alleged violation. The effects of the alleged violation were that the oil and gas

leases were issued without adequate NEPA analysis and compliance with FLPMA. However,

neither a NEPA nor a FLPMA violation can exist now that BLM has suspended the leases.

Indeed, if there is no active lease, no lessee can do anything that would disturb the resources

about which SUWA is concerned. And, if, after further environmental review, BLM makes a

future decision lifting the suspension of the leases, SUWA can challenge those decisions based

on a new administrative record. Thus, the voluntary cessation exception is inapplicable, and

SUWA’s claims should be dismissed as moot.

                                           CONCLUSION

       For the reasons stated above, this Court should dismiss this action for want of subject

matter jurisdiction.




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       DATED this 8th day of August 2019.

                                                 JOHN W. HUBER
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                                                 /s/ Jared C. Bennett
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